Case 4:11-cv-00757-CVE-fhm Document 15 Filed in USDC ND/OK on 03/30/12 Page 1 of 1




                     IN THE UNITED STATES DISTRICT COURT FOR THE
                           NORTHERN DISTRICT OF OKLAHOMA

  SHERMAN ANDERSON,                               )
                                                  )
        Plaintiff,                                )
                                                  )
  vs.                                             )   Case No. 11-CV-757-TCK-FHM
                                                  )
  FARMERS INSURANCE COMPANY, INC.,                )
                                                  )
        Defendant.                                )
                                                  )
                                                  )

                                   OPINION AND ORDER

        Defendant Farmers Insurance Company, Inc.’s Motion for Protective Order and

  Brief in Support [Dkt. 14] is before the court for decision. No response has been filed to

  the motion which is deemed confessed. LCvR 7.2(e).

        Defendant Farmers Insurance Company, Inc.’s Motion for Protective Order [Dkt.

  14] is GRANTED.

        DATED this 30th day of March, 2012.
